Case 2:17-cv-06648-JAK-GJS Document 126 Filed 01/08/21 Page 1 of 5 Page ID #:2377

                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA


                                         CIVIL MINUTES – GENERAL

 Case No.        LA CV17-06648 JAK (GJSx)                                    Date   January 8, 2021
 Title           James N.H. Seagrim et al v. Geoffery Owen Cassidy et al




 Present: The Honorable               JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                       T. Jackson                                          Not Reported
                      Deputy Clerk                                Court Reporter / Recorder
              Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                        Not Present                                         Not Present


 Proceedings:               (IN CHAMBERS) ORDER RE MOTION, PURSUANT TO FEDERAL RULE
                            OF CIVIL PROCEDURE 37, FOR AN ORDER: (1) DEEMING ALL
                            DISCOVERY PROPOUNDED ON DEFENDANT GEOFFERY OWEN
                            CASSIDY BE ADMITTED AGAINST HIM; (2) STRIKING DEFENDANT’S
                            ANSWER; (3) DIRECTING THE CLERK TO ENTER A DEFAULT
                            JUDGMENT AGAINST DEFENDANT; AND (4) DIRECTING PLAINTIFFS
                            TO FILE A MOTION FOR ENTRY OF DEFAULT JUDGMENT PURSUANT
                            TO RULE 55 (DKT. 99)


I.       Introduction

On August 5, 2019, Plaintiffs filed a motion (the “Motion”) requesting an order that: (i) provides any
discovery presented to Defendant Geoffery Owen Cassidy (“Cassidy” or “Defendant”) to which he has
not responded shall result in corresponding admissions by him as to the issues presented in those
requests; (ii) strikes Cassidy’s answer to the Complaint; (iii) directs the entry of a default judgment
against Cassidy under Fed. R. Civ. P. 37; and (iv) permits Plaintiffs to file a corresponding motion for
default judgment under Fed. R. Civ. P. 55. Dkt. 99. On September 6, 2019, the Motion was taken under
submission without a hearing. Dkt. 103.

On February 18, 2020, the Motion was deferred and deadlines were set for Plaintiffs and Cassidy to file
certain documents relevant to the Motion (the “Deferral Order”). See Dkt. 104 at 4-5. On March 4, 2020,
Plaintiffs filed their Rule 37(d)(1)(B) certification (the “Certification”). Dkt. 107. On May 11, 2020,
Plaintiffs filed a Notice of Compliance (the “Notice”). Dkt. 108.

For the reasons stated in this Order, the Motion is GRANTED-IN-PART.


II.      Background

         A.       Prior Order

The Deferral Order includes a discussion of the factual and procedural background of this action. It is

                                                                                               Page 1 of 5
Case 2:17-cv-06648-JAK-GJS Document 126 Filed 01/08/21 Page 2 of 5 Page ID #:2378

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.      LA CV17-06648 JAK (GJSx)                                        Date    January 8, 2021
 Title         James N.H. Seagrim et al v. Geoffery Owen Cassidy et al

incorporated by reference here. The Deferral Order set deadlines for the filing of relevant documents.
First, on or before March 18, 2020, Cassidy was required to “provide to and serve on Plaintiff his
answers, objections and/or responses to the “Interrogatories (Set One) pursuant to Rule 33” and
“Requests for Production of Documents (Set One) pursuant to Rule 34” as required by Fed. R. Civ. P.
33 and 34.” Dkt. 104 at 4.

Second, on or before March 4, 2020, Plaintiffs were required to “file on the docket a copy of the
discovery served on Cassidy on May 30, 2019, including (i) Interrogatories (Set One) pursuant to Rule
33; (ii) Requests for Production of Documents (Set One) pursuant to Rule 34, and (iii) Requests for
Admission (Set One) pursuant to Rule 36.” Dkt. 104 at 5.

Third, on or before March 4, 2020, Plaintiffs were required to “file a certification as required by Fed. R.
Civ. P. 37(d)(1)(B) if Plaintiffs intend to rely on failures to respond to answer or respond to discovery in
support of the Motion.” Dkt. 104 at 5.

Fourth, on or before March 4, 2020, Plaintiffs were required to “file a declaration identifying the
reasonable attorneys’ fees and costs incurred from May 30, 2019, through August 5, 2019, in efforts to
secure Cassidy’s compliance with the discovery requests served on May 30, 2019, and in efforts to
prepare and file the Motion (Dkt. 99), unless Plaintiffs concede that payment of reasonable expenses
and attorneys’ fees under Fed. R. Civ. P. 37(b)(2)(C) would not be substantially justified or such an
award would be unjust in the event that sanctions are imposed.”

The Prior Order concluded with the following cautionary admonition about the consequences of a
failure to comply with its terms:

         Failure by Cassidy to comply with the requirements of this Order or other rules, procedures
         and obligations in the future will be considered along with Cassidy’s existing failure to
         comply with discovery obligations in this action. Such a consideration will be part of the
         determination of what sanction, if any, is appropriate in response to such conduct. The
         available remedies include: (i) deeming the matters within the discovery requests
         propounded upon Cassidy by Plaintiffs as admitted in favor of Plaintiffs; (ii) barring Cassidy
         from supporting or opposing certain claims or defenses or from introducing certain matters
         into evidence as this matter proceeds, including at any trial; (iii) striking Cassidy’s answer
         in whole or part, with a corresponding default entered; (iv) granting a motion for default
         judgment against Cassidy; and/or (v) awarding reasonable attorneys’ fees and costs to
         Plaintiffs’. See Fed. R. Civ. P. 37(b); (d).

Dkt. 104 at 5-6.

         B.     Certification

Plaintiffs’ counsel filed a certification pursuant to Fed. R. Civ. P. 37(d)(1)(B) that counsel had conferred
extensively and in good faith with Cassidy to seek to have him respond to written discovery. Dkt. 107 at
2. The Certification states that deadlines were extended several times, that Cassidy promised to
respond, but never did so. Id. Despite Plaintiffs’ efforts to provide a means by which Cassidy could
comply with his obligation to respond to their discovery, Cassidy failed to do so, and then later asserted
                                                                                                   Page 2 of 5
Case 2:17-cv-06648-JAK-GJS Document 126 Filed 01/08/21 Page 3 of 5 Page ID #:2379

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA CV17-06648 JAK (GJSx)                                        Date    January 8, 2021
 Title        James N.H. Seagrim et al v. Geoffery Owen Cassidy et al

that a worldwide bankruptcy stay issued in Singapore precluded any further cooperation. Id. at 3.
Plaintiffs continued to attempt to confer with Cassidy before filing the Motion and Cassidy continued to
fail to participate in responding to discovery. Id. at 4.

         C.    Notice

On May 11, 2020, Plaintiffs filed their Notice of Compliance. Dkt. 108. The Notice states that Plaintiffs
complied with the requirements of the Deferral Order and elected not to seek attorney’s fees. Id. at 4.
The Notice states that Cassidy has not provided any response and did not comply with his obligations
under the Deferral Order. Id.


III.     Analysis

         A.    Legal Standards

Fed. R. Civ. P. 37 provides that sanctions may be imposed against a party for failing to make certain
necessary disclosures in discovery, cooperate in discovery or comply with court orders. Fed. Civ. P.
37(b) permits sanctions if “a party or a party's officer, director, or managing agent—or a witness
designated under Rule 30(b)(6) or 31(a)(4)—fails to obey an order to provide or permit discovery,
including an order under Rule 26(f), 35, or 37(a).” “The definition of ‘order’ in Rule 37(b) has been read
broadly.” Dreith v. Nu Image, Inc., 648 F.3d 779, 787 (9th Cir. 2011) (quoting Unigard Sec. Ins. Co. v.
Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 (9th Cir. 1992)). “Violations of a scheduling order
may result in sanctions, including dismissal under Rule 37(b)(2)(C).” Id. (quoting Atchison, Topeka and
Santa Fe Ry. Co. v. Hercules Inc., 146 F.3d 1071, 1073 (9th Cir. 1998)). “But Rule 37(b)(2)'s
requirement that there be some form of court order that has been disobeyed has not been read out of
existence; Rule 37(b)(2) has never been read to authorize sanctions for more general discovery
abuse.” Unigard, 982 F.2d at 368.

Fed. R. Civ. P. 37(d) provides a range of potential remedies. It authorizes the imposition of sanctions
identified by Fed. R. Civ. P. 37(b)(2)(a) for failure to serve answers, objections, or written responses to
interrogatories under Rule 33 or requests for documents under Rule 34. Fed. R. Civ. P. 37(d)(1)(B)
requires that “a motion for sanctions for failing to answer or respond must include a certification that the
movant has in good faith conferred or attempted to confer with the party failing to act in an effort to
obtain the answer or response without court action.”

If sanctions are imposed pursuant to Fed. R. Civ. P. 37(b)(2)(A)(i)-(vi), Fed. R. Civ. P. 37(b)(2)(C)
requires that “[i]nstead of or in addition to the [sanctions identified by Fed. R. Civ. P. 37(b)(2)(A)], the
court must order the disobedient party, the attorney advising that party, or both to pay the reasonable
expenses, including attorney’s fees, caused by the failure, unless the failure was substantially justified
or other circumstances make an award of expenses unjust.”

In addition to authority provided by Fed. R. Civ. P. 37, “[c]ourts are invested with inherent powers that
are governed not by rule or statute but by the control necessarily vested in courts to manage their own
affairs so as to achieve the orderly and expeditious disposition of cases.” Unigard, 982 F.2d at 368.

                                                                                                   Page 3 of 5
Case 2:17-cv-06648-JAK-GJS Document 126 Filed 01/08/21 Page 4 of 5 Page ID #:2380

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

 Case No.     LA CV17-06648 JAK (GJSx)                                         Date    January 8, 2021
 Title        James N.H. Seagrim et al v. Geoffery Owen Cassidy et al

“Sanction orders taking the plaintiff's allegations as established and awarding judgment on that basis
are ‘the most severe penalty,’ and are authorized only in ‘extreme circumstances.’” Commodity Futures
Trading Comm’n v. Noble Metals Int’l, Inc., 67 F.3d 766, 770-71 (9th Cir. 1995) (quoting United States
ex rel. Wiltec Guam, Inc. v. Kahaluu Constr. Co., 857 F.2d 600, 603, 603 n.5 (9th Cir. 1988)). “To justify
the imposition of such a harsh sanction, the district court must find that the violations were ‘due to
willfulness, bad faith, or fault of the party.’” Noble Metals, 67 F.3d at 771 (quoting Kahaluu Constr., 857
F.2d at 603). “A court must consider the following five factors before striking a pleading or declaring
default: ‘(1) the public’s interest in expeditious resolution of litigation; (2) the court’s need to manage its
docket; (3) the risk of prejudice to the other party; (4) the public policy favoring the disposition of cases
on their merits; and (5) the availability of less drastic sanctions.’” Hester v. Vision Airlines, Inc., 687
F.3d 1162, 1169 (9th Cir. 2012) (quoting Dreith, 648 F.3d at 788). “The sub-parts of the fifth factor are
whether the court has considered lesser sanctions, whether it tried them, and whether it warned the
recalcitrant party about the possibility of case-dispositive sanctions.” Conn. Gen. Life Ins. Co. v. New
Images of Beverly Hills, 482 F.3d 1091, 1096 (9th Cir. 2007).

         B.    Application

Cassidy has failed to comply with the Deferral Order and other discovery obligations. Cassidy was
warned of the consequences of such conduct. Dkt. 104. Plaintiffs have filed a certification and shown a
sufficient factual basis to support the imposition of sanctions based on Cassidy’s repeated failure to
respond to discovery and participate in this action. See generally Dkt. 104; Dkt. 107.

This action has been pending for more than three years and Cassidy has failed to participate in
discovery or any other aspect of the proceedings. See Dkt. 1 (September 8, 2017). Striking a pleading
and entering a default would serve the public interest in expediting the litigation, given the continued
delay caused by Cassidy’s conduct. It would also serve the interest of allowing the Court to control its
docket and ensuring the efficient resolution of disputes. Striking a pleading and entering default would
be prejudicial to Cassidy and not serve the public interest of having this action resolved on its merits.
However, Cassidy has left the Court with no reasonable alternative. He has failed to comply with court
orders. Other, less drastic sanctions are not at all likely to cause him to change his behavior and
comply with court orders and his other obligations. Cassidy has exhibited the willfulness that justifies
the imposition of this harsh sanction. See Noble Metals, 67 F.3d at 771. The Deferral Order provided
Cassidy a final chance to comply with his discovery obligations. Once again, he failed to respond at all.

For these reasons, the following sanctions are necessary and appropriate. Pursuant to Fed. R. Civ. P.
37(b)(2)(A)(i), the matters within the scope of the discovery propounded on Cassidy seeking his
position and evidence as to various issues, which are set forth in Exhibits D, E and F to the Declaration
of Joel Athey (Dkt. 107-1), are deemed admitted in a manner that is adverse to him. Pursuant to Fed.
R. Civ. P. 37(b)(2)(A)(iii), the answer filed by Cassidy (Dkt. 59) is STRICKEN. Pursuant to Fed. R. Civ.
P. 55(a), the clerk is directed to enter default against Cassidy. The request for entry of default judgment
under Fed. R. Civ. P. 37(b)(2)(A)(vi) is DENIED without prejudice to the filing of such a motion on or
before January 29, 2021.




                                                                                                    Page 4 of 5
Case 2:17-cv-06648-JAK-GJS Document 126 Filed 01/08/21 Page 5 of 5 Page ID #:2381

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES – GENERAL

 Case No.    LA CV17-06648 JAK (GJSx)                                     Date    January 8, 2021
 Title       James N.H. Seagrim et al v. Geoffery Owen Cassidy et al

IV.      Conclusion

For the reasons stated in this Order, the Motion is GRANTED-IN-PART. The answer of Cassidy
(Dkt. 59) is STRICKEN. The clerk is directed to enter default against Cassidy. On or before January 29,
2021, Defendants shall file a motion for default judgment under Fed. R. Civ. P. 55(b)(2).


IT IS SO ORDERED.




                                                                                           :

                                                         Initials of Preparer    TJ




                                                                                               Page 5 of 5
